 Case 1:07-cr-00029-PLM       ECF No. 84, PageID.326         Filed 07/17/07      Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                         CASE NO. 1:07-CR-29
v.
                                                         HON. ROBERT HOLMES BELL
KARL ALAN WHITE, JR.,

              Defendant.
                                     /


                    ORDER DETAINING MATERIAL WITNESS

        This matter was before the Court on the Government’s Motion to Revoke

Defendant’s Bond. In support of the motion, Leniya Stafford was called as a witness to

testify. Following her testimony, the Government moved for detention of the witness in

order to insure her further attendance at trial. The Court having found that Ms. Stafford

committed perjury while on the stand, the witness was ordered detained in the custody of

the United States Marshal as a material witness until completion of the trial.




Date:     July 17, 2007                   /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          CHIEF UNITED STATES DISTRICT JUDGE
